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Diane C. Cicatelli
109 Sky High Drive
Stroudsburg, Pa. 18360

To Whom It May Concern:

| have known Ross Roggio for 35 years. He is a hardworking, intelligent man and as a close neighbor and
friend | can vouch for his integrity and compassion. He has helped us out countless times, such as lawn
care, snow removal and numerous other projects when we were unable to do it.

My husband is seriously ill and | am 72 years old. We would not know what to do if Ross wasn’t there to
help us.

The Roggio family is an upstanding family and | am proud to know Ross and his parents, Soonja and John.
| hope this letter finds its way to the right authorities. It would be a shame if it did not.

Thank you for your time and consideration in this matter.

Sincerely yours,
Diane Cicatelli

Monday, February 22, 2022

Cc: Gino Bartolai, Esq.
238 William St.

Pittston, Pa 18640

g DEFENDANT’S
§ EXHIBIT

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